Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 1 of 16                 PageID 2789




                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE


   FUSION ELITE ALL STARS, et al.,

                 Plaintiffs,
          v.
                                                          Civ. Action No. 2:20-cv-02600
   VARSITY BRANDS, LLC, et al.,

                 Defendants.




   JESSICA JONES, et al.,

                 Plaintiffs,
          v.
                                                          Civ. Action No. 2:20-cv-02892
   BAIN CAPITAL PRIVATE EQUITY, et al.

                 Defendants.



   MOTION TO QUASH OR MODIFY SUBPOENA DIRECTED TO MARLENE COTA
                    AND FOR PROTECTIVE ORDER

         Come now Defendants Varsity Spirit, LLC (“Varsity”), Varsity Brands, LLC, Varsity

  Brands Holding Co., Inc., Varsity Spirit Fashions & Supplies, LLC, Bain Capital, LP, and

  Charlesbank Capital Partners, LLC (collectively, “Defendants”), by and through counsel,

  pursuant to Federal Rules of Civil Procedure 45 and 26, and hereby file this motion and

  supporting memorandum to quash or modify, and for a protective order, regarding a subpoena

  issued by Plaintiffs to former Varsity employee Marlene Cota.

         Varsity terminated Ms. Cota’s employment in 2018. In agreements she entered into

  during her employment and at the time of her termination, Ms. Cota acknowledged that business

  material she received or generated during her employment remained Varsity’s sole property. She


                                                 1
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 2 of 16                      PageID 2790




  also promised to return all such material to Varsity upon her departure. Yet following her receipt

  of Plaintiffs’ subpoena, Ms. Cota’s attorney notified Varsity that she possesses numerous

  categories of documents from her employment and that she intended to produce this material to

  Plaintiffs absent a court order to the contrary. This material should never have been in Ms.

  Cota’s possession following her departure and it is improper for Plaintiffs to seek its production

  through a Rule 45 subpoena. Ms. Cota has, in fact, agreed to return the material to Varsity once

  the Court resolves the pending subpoena through this motion. Declaration of Matthew S.

  Mulqueen ¶ 7 (attached as Exhibit A).

         It is surprising that Plaintiffs would issue a subpoena to Ms. Cota in the first place, since

  she left the company almost four years ago and was primarily involved in corporate

  sponsorships—a topic unrelated to Plaintiffs’ antitrust allegations—during her employment. The

  parties had lengthy negotiations over the scope of discovery in this matter, during which

  Plaintiffs proposed over 50 record custodians of interest to them. Plaintiffs did not name Ms.

  Cota as a person of interest despite Varsity’s production of an organizational chart from 2017

  listing her as “VP Corporate Alliances.” See Mulqueen Decl. ¶¶ 8, 10. Nor did Plaintiffs

  mention Ms. Cota in the motions to compel they filed in these actions. Of course, had Plaintiffs

  sought (and Varsity agreed to) the production of custodial documents for Ms. Cota, Varsity

  would have had the opportunity to review those documents for responsiveness and privilege.

  Instead, Plaintiffs now propose that Ms. Cota produce Varsity’s proprietary material without

  giving Varsity any opportunity to review it beforehand.

         Ultimately, Plaintiffs’ attempt to subpoena this material from Ms. Cota amounts to an

  impermissible end-run around Federal Rule of Civil Procedure 34. Rule 34 governs document

  requests between parties, and here, it is clear that the material sought by the subpoena belongs to




                                                  2
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 3 of 16                     PageID 2791




  Varsity. To allow Plaintiffs to now circumvent the normal Rule 34 process by subpoenaing Ms.

  Cota could potentially result in the disclosure of privileged attorney-client communications. It

  would also vitiate the parties’ negotiations over the scope of discovery and the court’s discovery

  orders in these cases. Thus, the problem here is two-fold: Plaintiffs have subpoenaed documents

  that belong to Varsity, not Ms. Cota, and they do so to avoid the proper discovery procedure for

  requesting Varsity’s documents.

         For all of the reasons set forth below, the Court should quash or modify the subpoena and

  issue a protective order prohibiting Ms. Cota from producing Varsity’s property to Plaintiffs.

  Following the entry of that order, Ms. Cota should return Varsity’s property to the company.

                                    FACTUAL BACKGROUND

  I.     Marlene Cota’s Employment, Termination, and Contractual Promises

         Marlene Cota was employed by Varsity until her termination on January 9, 2018. See

  Declaration of William Seely ¶ 4 (attached as Exhibit B).         Ms. Cota was “VP Corporate

  Alliances” and worked on corporate sponsorships—a subject area that is not a part of Plaintiffs’

  antitrust allegations in these cases. See Mulqueen Decl. ¶ 10; see generally Complaint, Fusion

  Elite, No. 20-cv-02600, ECF No. 56; Complaint, Jones, No. 20-cv-2892, ECF No. 1.

         During her employment and in connection with her termination, Ms. Cota entered into

  several contracts promising to keep Varsity’s proprietary business information confidential,

  agreeing that any material she created or received in the course of her employment was Varsity’s

  exclusive property, and promising that she would return all of Varsity’s property to the company

  upon her departure.

         A.      The Employment Agreement

         On or about June 10, 2005, for example, Ms. Cota executed an Employment Agreement

  with Varsity (“Employment Agreement”). See Seely Decl. at ¶ 6 and Exhibits 1(a) and 1(b).


                                                  3
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 4 of 16                      PageID 2792




  Pursuant to the Employment Agreement, Ms. Cota agreed to keep confidential and to not

  disclose “Confidential Information.” Seely Decl. at Exhibit 1(a), Employment Agreement ¶ 6.

  She further agreed to “promptly, following a request therefore from Company, return to

  Company, without retaining copies, all items which are or which contain Confidential

  Information.”    Id. ¶ 6(c).    “Confidential Information” for these purposes includes “all

  information, and all data, knowledge, documents and other tangible items, relating to the

  Company’s business, which is protectable as a trade secret under applicable law or is subject to

  the reasonable efforts of Company to maintain its secrecy and from which secrecy Company

  derives economic value,” id. ¶ 6(a), as well as “information, knowledge or data of any third party

  doing business with Company that such third party identifies as being confidential,” id. ¶ 6(b).

          B.      The Employee Confidentiality Agreement

          On or about January 4, 2016, Ms. Cota executed an Employee Confidentiality, Non-

  Solicitation,   Non-Competition     and    Invention    Assignment      Agreement     (“Employee

  Confidentiality Agreement”) with similar restrictions and obligations. See Seely Decl. at ¶ 7 and

  Exhibit 2. Ms. Cota agreed that “all information, whether or not in writing, concerning the

  Company Entities’ business, technology, business relationships or financial affairs that the

  Company Entities have not released generally within the industry or industries in which they

  operate (collectively, “Proprietary Information”) is and will be the exclusive property of the

  Company Entities.”      Seely Decl. at Exhibit 2, Employee Confidentiality Agreement ¶ 1

  (emphasis added); see also id. ¶ 6 (noting that all material containing Proprietary Material that

  came into Ms. Cota’s possession was “the exclusive property of the Company”). Ms. Cota

  promised that she would “not, at any time, without the Company’s prior written permission,

  either during or after [her] employment, disclose any Proprietary Information to anyone outside

  of the Company Entities, or use or permit to be used any Proprietary Information for any purpose


                                                  4
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 5 of 16                       PageID 2793




  other than the performance of [her] duties as an employee of the Company Entity.” Id. ¶ 2. She

  also agreed to “deliver to the Company all copies of Proprietary Information in [her] possession

  or control upon the earlier of a request by the Company or termination of [her] employment.” Id.

  In the specific event of her termination, Ms. Cota agreed that she would “deliver to the Company

  all files, letters, notes, memoranda, reports, records, data, sketches, drawings, notebooks, layouts,

  charts, quotations and proposals, specification sheets, program listings, blueprints, models,

  prototypes, or other written, photographic or other tangible material containing Proprietary

  Information, and other materials of any nature pertaining to the Company or any Company

  Entity or to [her] work, and w[ould] not take or keep in [her] possession any of the foregoing or

  any copies.” Id. ¶ 6. The restrictions and obligations set out in the Employee Confidentiality

  Agreement are in addition to and supplementary of the other obligations found in other

  agreements between the parties. Id. ¶ 18.

         C.      The Severance Agreement

         In connection with her termination of employment, Ms. Cota entered into an Agreement,

  General Release, and Confidentiality Statement on or about January 30, 2018 (“Severance

  Agreement”), along with a Release (“Release”). See Seely Decl. at ¶ 8 and Exhibits 3(a) and

  3(b). In the Severance Agreement, Ms. Cota “certifie[d] and declare[d] that she ha[d] returned

  to the custody of the Company all Company property and documents, as well as any copies of

  Company property and documents, in her possession.” Exhibit 3(a), Severance Agreement ¶ 6.

  The agreement defines “Company documents” as “any writings, contracts, records, files, tape

  recordings, correspondence, photographs, communications, summaries, data, notes, memoranda,

  diskettes, or any other source containing information which relates to or references the Company

  and which was provided by the Company or obtained as a result of Employee’s

  relationship/employment with the Company.” Id. (emphasis added). Ms. Cota also promised


                                                   5
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 6 of 16                     PageID 2794




  that she would not disclose any “information she obtained as a result of her position with the

  Company” without obtaining prior express consent from Varsity. Id. ¶ 7. These obligations and

  restrictions are to be read in tandem with, and not limited by, similar obligations set out in the

  Employee Confidentiality Agreement and Employment Agreement. Id. ¶ 11.

  II.    Plaintiffs’ Subpoena to Ms. Cota and Varsity’s Objections

         Despite the fact that her former job responsibilities do not overlap with the substance of

  Plaintiffs’ claims in these antitrust cases, and despite the fact that Ms. Cota was not associated

  with Varsity for a substantial portion of the relevant statute of limitations period, Plaintiffs’

  counsel issued subpoenas to Ms. Cota on or about November 3, 2021 seeking her deposition and

  the production of documents. See Cota Subpoena Package (attached as Exhibit C).

         Plaintiffs’ subpoena duces tecum is extremely broad and seeks the production of the

  following categories of documents:

         REQUEST NO. 1: All Documents or Communications reflecting, relating to, or
         concerning Varsity.

         REQUEST NO. 2: All Documents reflecting, relating to or concerning Your
         employment by Varsity Defendants, and your termination, separation, or
         severance from Varsity.

         REQUEST NO. 3: All Documents or Communications relating to or concerning
         All Star Competitions or All Star Apparel.

         REQUEST NO. 4: All Documents or Communications reflecting, relating to, or
         concerning current or former Varsity employees, including but not limited to
         Brian Elza and Tres LeTard.

         REQUEST NO. 5: All Documents or Communications reflecting, relating to, or
         concerning the U.S. All Star Federation.

         REQUEST NO. 6: All Documents or Communications reflecting, relating to, or
         concerning contracts or sales arrangements or proposals known in sum or
         substance as the Family Plan, Network Agreement, or Varsity Bucks, or other
         rebate or discount programs discussed at Paragraphs 170 to 185 of the Fusion
         Complaint and Paragraphs 141 to 152 of the Jones Complaint.




                                                  6
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 7 of 16                    PageID 2795




         REQUEST NO. 7: All Documents or Communications reflecting, relating to, or
         concerning acquisitions by Varsity of Independent Event Producers, Apparel
         manufacturers, Gyms, Camps, and any other entities.

         REQUEST NO. 8: All Documents or Communications reflecting, relating to, or
         concerning sexual abuse, predation, harassment, misconduct or any other sex
         crimes against or related to All Star cheerleaders, whether occurring at All Star
         Competitions or elsewhere, as discussed at Paragraphs 237 to 241 of the Fusion
         Complaint.

         REQUEST NO. 9: All Documents or Communications reflecting, relating to, or
         concerning Varsity’s School Partnership Program, including but not limited to
         contracts or sales arrangements or proposals.

         REQUEST NO. 10: All Documents or Communications reflecting, relating to, or
         concerning School Cheer, School Cheer Competitions, or School Cheer Apparel.

         REQUEST NO. 11: All Documents or Communications reflecting, relating to, or
         concerning Camps.

  Exhibit C.

         On December 16, 2021, counsel for Defendants received a letter from Bryan Meredith of

  the Meredith Law Firm, stating that he represented Ms. Cota in connection with the subpoenas.

  Mr. Meredith disclosed that Ms. Cota had in her possession several categories of documents

  from the time of her employment with Varsity, including:

         (1) agreements and other documents describing or referencing Ms. Cota’s
         employment compensation, and/or the terms and conditions of her employment
         with Varsity; (2) correspondence between Ms. Cota and Varsity employees and/or
         sponsors or other third parties pertaining to sponsorships, competitions,
         competitors, and other business dealings; (3) business development documents
         disseminated by Varsity to its employees and/or third parties including documents
         related to acquiring sponsorships and commissions for the acquisition of new
         sponsorships; and (4) Ms. Cota’s personal notes made during her employment
         with Varsity, some of which are loose leaf and many of which are contained in
         volumes of notebooks.

  Mulqueen Decl. ¶ 2 & Exhibit 1.

         Acknowledging that these categories included documents that “Ms. Cota agreed to keep

  confidential,” Mr. Meredith offered Varsity the opportunity to inspect the documents or to seek a



                                                 7
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 8 of 16                       PageID 2796




  protective order prior to any production to Plaintiffs. See id. ¶ 4. Varsity accepted the offer to

  inspect the documents and arranged for a meeting with Mr. Meredith on December 20, 2021. Id.

  After disclosing this agreement, however, Plaintiffs’ counsel objected and demanded that they be

  allowed to participate in the inspection of documents.        Id. ¶ 5.   As a result of Plaintiffs’

  objection, Mr. Meredith stated that the meeting would be postponed. Id.

         On December 21, 2021, Varsity sent a letter to Ms. Cota outlining her contractual

  obligations of confidentiality, her acknowledgements that the material in her possession was

  Varsity’s exclusive property, and her promises to return to Varsity all material of any nature

  pertaining to Varsity upon her termination. Id. ¶ 6 & Exhibit 2. In a follow up discussion on

  December 23, 2021, Ms. Cota’s counsel stated that she had agreed to return the material to

  Varsity once the Court resolves this motion. Id. ¶ 7.

                                        LEGAL STANDARD

         “A party or attorney responsible for issuing and serving a subpoena must take reasonable

  steps to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.

  Civ. P. 45(d)(1). “On timely motion, the court for the district where compliance is required must

  quash or modify a subpoena that: . . . (iii) requires disclosure of privileged or other protected

  matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.” Fed. R.

  Civ. P. 45(d)(3)(A). Moreover, “[t]o protect a person subject to or affected by a subpoena, the

  court for the district where compliance is required may, on motion, quash or modify the

  subpoena if it requires: . . . disclosing a trade secret or other confidential research, development,

  or commercial information.” Fed. R. Civ. P. 45(d)(3)(B).

         Rule 26 authorizes the court “for good cause shown” to issue a protective order to protect

  a person “from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R.

  Civ. P. 26(c)(1). “Good cause exists if ‘specific prejudice or harm will result’ from the absence


                                                   8
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 9 of 16                       PageID 2797




  of a protective order.” In re Ohio Execution Protocol Litig., 845 F.3d 231, 236 (6th Cir. 2016)

  (citation omitted). Rule 26 further provides that the court must limit the extent of discovery

  otherwise allowed by the Rules if it determines that “(i) the discovery sought is unreasonably

  cumulative or duplicative, or can be obtained from some other source that is more convenient,

  less burdensome, or less expensive; (ii) the party seeking discovery has had ample opportunity to

  obtain the information by discovery in the action; or (iii) the proposed discovery is outside the

  scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).

                                            ARGUMENT

         Varsity moves the Court to quash or modify the subpoena and enter a protective order

  prohibiting Ms. Cota from producing Varsity’s documents to Plaintiffs.

         A.      Varsity Has Standing to Bring this Motion

         “To have standing to quash or object to a Rule 45 subpoena, a party must typically

  establish a claim of privilege or personal right with regard to the requested documents.” Elvis

  Presley Enters., Inc. v. City of Memphis, Tennessee, No. 218CV02718SHMDKV, 2020 WL

  4283279, at *3 (W.D. Tenn. Apr. 6, 2020), aff’d, No. 2:18-CV-02718, 2020 WL 4015476 (W.D.

  Tenn. July 16, 2020). For example, “[c]ourts have held that a corporation has standing to object

  to a subpoena served on a third party that would result in the disclosure of its financial records or

  business records held by that third party.” StoneEagle Servs., Inc. v. Pay-Plus Sols., Inc., No.

  1:15–MC–00010, 2015 WL 1022083, at *2 (N.D. Ohio Mar. 9, 2015).

         Varsity has standing to quash and object to the subpoena under Rule 45. As Ms. Cota

  herself acknowledges, the subpoena calls for the production of information subject to her

  contractual confidentiality obligations to Varsity. See Mulqueen Decl. ¶ 3. Ms. Cota “would not

  have access to or possession of these documents except for the fact [she was employed by

  Varsity].” Elvis Presley Enters., Inc., 2020 WL 4283279, at *4. That alone provides Varsity


                                                   9
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 10 of 16                    PageID 2798




  with sufficient standing to bring this motion. See id.; see also Stokes v. Xerox Corp., No. 05-CV-

  71683-DT, 2006 WL 6686584, at *2 (E.D. Mich. Oct. 5, 2006) (employer-defendant had

  standing to move to quash subpoena of documents from a non-party employee for documents

  that the employee “would not have access to or possession of except for his employment”). But

  Varsity also has a unique personal stake in these documents because of Varsity’s various

  contracts with Ms. Cota making clear that the material is Varsity’s sole property and never

  should have been in Ms. Cota’s possession following her termination. See Seely Decl. at

  Exhibits 1(a) – 3(b).

         Varsity separately has standing to seek a protective order under Rule 26.     “Under Rule

  26(c), a party may move for a protective order to protect itself from annoyance, embarrassment,

  oppression, or undue burden or expense, regardless of whether the moving party is seeking to

  prevent disclosure of information by a nonparty, as long as the moving party can tie the

  protected information to an interest listed in the rule.” Elvis Presley Enters., Inc., 2020 WL

  4015476, at *14 (emphasis added). In Elvis Presley Enterprises, for example, Judge Mays

  affirmed Magistrate Judge Vescovo’s determination that the City of Memphis had standing under

  Rule 26 to challenge subpoenas issued to a non-party City councilman because the subpoenas

  requested documents “belonging to the City and because the documents [we]re potentially

  attorney-client privileged.” Id. The same is true here. The documents improperly in Ms. Cota’s

  possession are exclusively Varsity’s property and may contain attorney-client privilege

  communications.

         B.      The Documents Sought in the Subpoena are Exclusively Varsity’s Property
                 and Ms. Cota Should Have Returned Them Upon Her Termination

         Ms. Cota’s counsel has made clear that the documents at issue are only in Ms. Cota’s

  possession because of her former employment with Varsity. See Mulqueen Decl. ¶¶ 2, 7. That



                                                 10
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 11 of 16                     PageID 2799




  alone would be grounds for concluding that the documents are Varsity’s property. See Elvis

  Presley Enters., Inc., 2020 WL 4015476, at *4 (noting that even though a City councilman used

  his own business email address to handle City business, “the documents were still received by

  [the councilman] as a representative of the City and remained within the control of the City

  through its city councilman”). But here, Ms. Cota also agreed in numerous contracts that

  business material she generated or received while employed was Varsity’s exclusive property:

             •   Under the Employment Agreement (Exhibit 1(a)), Varsity retained the unilateral
                 right to demand the return of all “Confidential Information,” including “all
                 information, and all data, knowledge, documents and other tangible items, relating
                 to the Company’s business, which is protectable as a trade secret under applicable
                 law or is subject to the reasonable efforts of Company to maintain its secrecy and
                 from which secrecy Company derives economic value,” id. ¶ 6(a), as well as
                 “information, knowledge or data of any third party doing business with Company
                 that such third party identifies as being confidential,” id. ¶ 6(b).

             •   In the Employee Confidentiality Agreement, Ms. Cota acknowledged that “all
                 information, whether or not in writing, concerning the Company Entities’
                 business, technology, business relationships or financial affairs that the Company
                 Entities have not released generally within the industry or industries in which they
                 operate (collectively, “Proprietary Information”) is and will be the exclusive
                 property of the Company Entities.” Exhibit 2, Employee Confidentiality
                 Agreement ¶ 1 (emphasis added); see also id. ¶ 6.

         Ms. Cota further agreed that if her employment was terminated—which it was on January

  9, 2018—she would “deliver to the Company all files, letters, notes, memoranda, reports,

  records, data, sketches, drawings, notebooks, layouts, charts, quotations and proposals,

  specification sheets, program listings, blueprints, models, prototypes, or other written,

  photographic or other tangible material containing Proprietary Information, and other materials

  of any nature pertaining to the Company or any Company Entity or to [her] work, and w[ould]

  not take or keep in [her] possession any of the foregoing or any copies.” Id. ¶ 6 (emphasis

  added). She further certified in her Severance Agreement that she had, in fact, “returned to the




                                                  11
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 12 of 16                       PageID 2800




  custody of the Company all Company property and documents, as well as any copies of

  Company property and documents, in her possession.” Exhibit 3(a), Severance Agreement ¶ 6.

         Regardless of how or why Ms. Cota currently possesses the categories of Varsity material

  set out in her counsel’s letter, she is under an ongoing obligation to return the material to Varsity

  and has no right to keep any copies of the material. The documents are Varsity’s exclusive

  property, plain and simple.

         C.      The Subpoena is an Improper End-Run Around Rule 34

         “Rule 45 may not be used to circumvent discovery that could have been properly sought

  under Rule 34.” Elvis Presley Enters., Inc., 2020 WL 4015476, at *14; see also PCA-Corr., LLC

  v. Akron Healthcare LLC, No. 1:20-CV-428, 2021 WL 2043118, at *3 (S.D. Ohio May 21,

  2021) (granting motion to quash in part and explaining that certain subpoena requests were an

  improper attempt to circumvent document production as outlined in Fed. R. Civ. P. 34); Madej v.

  Yale Univ., No. 3:20-CV-133 (JCH), 2020 WL 6270273, at *2 (D. Conn. Oct. 26, 2020)

  (granting motion to quash and finding that the plaintiff’s subpoena directed to one of the

  defendant’s employees was an improper workaround for requests that should have been sent

  directly to the defendant).

         In Elvis Presley Enterprises, the plaintiff issued a subpoena to a councilman for the City

  of Memphis after the time period for issuing requests for production to the City under Rule 34

  had passed. Both the magistrate judge and the district court judge agreed that the plaintiff had

  improperly attempted “to circumvent [the court’s] scheduling orders by seeking documents from

  a party by a Rule 45 subpoena.” Elvis Presley Enters., Inc., 2020 WL 4283279, at *5; see also

  2020 WL 4015476, at *14. The magistrate judge therefore entered, and the district court

  affirmed, a protective order quashing the subpoenas. See id.




                                                   12
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 13 of 16                    PageID 2801




         Plaintiffs’ attempt to sidestep Rule 34 is particularly troublesome here. First, Ms. Cota

  apparently has in her possession “agreements and other documents describing or referencing Ms.

  Cota’s employment compensation, and/or the terms and conditions of her employment with

  Varsity,” “correspondence between Ms. Cota and Varsity employees,” and “business

  development documents disseminated by Varsity to its employees.” Mulqueen Decl. ¶ 2. These

  documents may contain attorney-client privileged material or protected work product that

  Varsity must review to determine whether to assert a claim of privilege or protection. Elvis

  Presley Enters., Inc., 2020 WL 4015476, at *14 (affirming that the City had a potential interest

  in preventing disclosure of attorney-client material).

         Second, allowing Ms. Cota to produce this material would vitiate the normal protections

  provided to a party under Rules 34 and 26, the parties’ lengthy negotiations over the scope of

  discovery, and the court’s discovery orders in these cases.        Plaintiffs issued voluminous

  document requests to Defendants, and Defendants responded with numerous objections.

  Combined, Plaintiffs’ counsel proposed over 50 document custodians for Varsity to search,

  including several former employees. Mulqueen Decl. ¶ 8. The parties engaged in substantial

  meet and confer negotiations over the requests and objections, leading the Plaintiffs in each case

  to substantially winnow down their proposed custodians and filing motions to compel as to

  issues the parties could not resolve. See Fusion Elite, No. 20-cv-02600, ECF Nos. 102 & 105,

  Jones, No. 20-cv-2892, ECF No. 100. The Fusion Elite parties eventually resolved their dispute

  without the need for the Court’s intervention, whereas the Court just recently issued an order

  addressing the Jones motions to compel. See Jones, No. 20-cv-2892, ECF No. 167.

         Plaintiffs never proposed Ms. Cota as a custodian in either case, despite Plaintiffs’

  requests for the inclusion of several other former employee custodians and despite Ms. Cota’s




                                                   13
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 14 of 16                      PageID 2802




  inclusion on an organizational chart that Varsity produced. See id.; Mulqueen Decl. ¶¶ 8, 10.

  Nor did Plaintiffs mention Ms. Cota in either of the motions to compel that they filed. Allowing

  Ms. Cota to produce Varsity’s proprietary business material—despite Plaintiffs never seeking

  such material from Varsity itself—would effectively give Plaintiffs a free bite at the apple on the

  scope of custodians and substantive document production without allowing Varsity the

  opportunity to object to that scope, to review the material for privilege and responsiveness, and

  to produce or withhold accordingly.

            Perhaps most insidious is Plaintiffs’ demand in the subpoena for the production of “[a]ll

  Documents or Communications reflecting, relating to, or concerning sexual abuse, predation,

  harassment, misconduct or any other sex crimes against or related to All Star cheerleaders,

  whether occurring at All Star Competitions or elsewhere, as discussed at Paragraphs 237 to 241

  of the Fusion Complaint.” See Exhibit C, Request No. 8. Varsity filed a motion to strike those

  paragraphs in the Fusion Elite Complaint over one year ago on the grounds that the allegations

  were utterly unrelated to Plaintiffs’ antitrust claims and were intended to embarrass and

  scandalize. Fusion Elite, No. 20-cv-02600, ECF No. 82. That motion remains pending. As part

  of the Fusion Elite parties’ agreed resolution of their discovery disputes, Plaintiffs agreed to

  withdraw their requests for production to Varsity on this topic pending the Court’s decision on

  the motion to strike. Mulqueen Decl. ¶ 9. And on top of that, the parties agreed that if the Court

  denied the motion to strike, they would meet and confer regarding the scope of those requests.

  See id.




                                                   14
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 15 of 16                    PageID 2803




         The Court should deny Plaintiffs’ attempt to obtain from Ms. Cota the same type of

  irrelevant and scandalous material they agreed they would not seek from Varsity.1 At the very

  least, Varsity should be allowed to inspect all of its property in Ms. Cota’s possession so that

  Varsity can assert specific objections to the production of any material that would serve no other

  purpose than to oppress and embarrass Varsity. See Fed. R. Civ. P. 26(c)(1).

                                          CONCLUSION

          Plaintiffs’ subpoena to Marlene Cota—and subsequent objection to Ms. Cota allowing

  Varsity to inspect its own property—is a blatant and impermissible attempt to end-run around

  Rule 34. Ms. Cota has no right to possess work material that is Varsity’s exclusive property

  under her various agreements with the company.         The Court should quash or modify the

  subpoena and issue a protective order so that Ms. Cota can comply with her contractual

  obligations of returning Varsity’s property without concern for compliance with Plaintiffs’

  improper subpoena.



  Dated: December 27, 2021                   Respectfully submitted,

                                             s/ Matthew S. Mulqueen

                                             George S. Cary*
                                             Jennifer Kennedy Park*
                                             Steven J. Kaiser*
                                             CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                             2112 Pennsylvania Avenue, NW
                                             Washington, DC 20037
                                             Phone: (202) 974-1500
                                             Fax: (202) 974-1999

  1
    As part of Defendants’ consultation requirements under Local Rule 7.2(a)(1)(B), Defendants
  conveyed their position that proceeding with Request No. 8 would be specifically improper in
  light of the pending motion to strike and the Fusion Elite Plaintiffs’ agreement to withdraw
  similar requests issued to Varsity. Plaintiffs’ counsel stated that they opposed any motion to
  quash or for protective order, including as to Request No. 8 in their subpoena duces tecum. See
  Certificate of Consultation infra.


                                                 15
Case 2:20-cv-02892-SHL-tmp Document 176 Filed 12/27/21 Page 16 of 16                   PageID 2804




                                             gcary@cgsh.com
                                             jkpark@cgsh.com
                                             skaiser@cgsh.com

                                             * Admitted pro hac vice

                                             Matthew S. Mulqueen (TN #28418)
                                             Adam S. Baldridge (TN #23488)
                                             BAKER, DONELSON, BEARMAN, CALDWELL &
                                             BERKOWITZ
                                             165 Madison Avenue, Suite 2000
                                             Memphis, TN 38103
                                             Phone: (901) 526-2000
                                             Fax: (901) 577-0866
                                             mmulqueen@bakerdonelson.com
                                             abaldridge@bakerdonelson.com

                                             Attorneys for Varsity Brands, LLC; BSN Sports, LLC;
                                             Varsity Spirit, LLC; Stanbury Uniforms, LLC; Herff
                                             Jones, LLC; Bain Capital, LP; Charlesbank Capital
                                             Partners, LLC; Varsity Brands Holding Co., Inc.;
                                             Varsity Spirit Fashions & Supplies, LLC; Varsity
                                             Intropa Tours




                              CERTIFICATE OF CONSULTATION

         I hereby certify that on December 23, 2021, I consulted with counsel for Plaintiffs via

  email regarding the relief sought in this motion. I noted Defendants’ position that the documents

  in Ms. Cota’s possession were Varsity’s exclusive property, and that Defendants separately

  believed that it was improper for Plaintiffs to move forward with Request No. 8 in the subpoena.

  On December 27, 2021, counsel for Plaintiffs responded via email that they opposed any motion

  to quash or for protective order, including as to Request No. 8.



                                                       s/ Matthew S. Mulqueen




                                                  16
